                                                             FILED: March 26, 2025


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


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                                            No. 25-1189
                                       (1:25-cv-00333-ABA)
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NATIONAL ASSOCIATION OF DIVERSITY OFFICERS IN HIGHER
EDUCATION; AMERICAN ASSOCIATION OF UNIVERSITY PROFESSORS;
RESTAURANT OPPORTUNITIES CENTERS UNITED; MAYOR AND CITY
COUNCIL OF BALTIMORE, MARYLAND

               Plaintiffs - Appellees

v.

DONALD J. TRUMP; DOROTHY FINK; DEPARTMENT OF HEALTH AND
HUMAN SERVICES; DEPARTMENT OF EDUCATION; DENISE CARTER;
DEPARTMENT OF LABOR; VINCENT MICONEI; DEPARTMENT OF
INTERIOR; DOUG BURGUM; DEPARTMENT OF COMMERCE; JEREMY
PELTER; DEPARTMENT OF AGRICULTURE; GARY WASHINGTON;
DEPARTMENT OF ENERGY; INGRID KOLB; DEPARTMENT OF
TRANSPORTATION; SEAN DUFFY; DEPARTMENT OF JUSTICE; JAMES
MCHENRY; NATIONAL SCIENCE FOUNDATION; SETHURAMAN
PANCHANATHAN; OFFICE OF MANAGEMENT AND BUDGET;
MATTHEW VAETH

               Defendants - Appellants

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AMERICAN CENTER FOR LAW AND JUSTICE
                Amicus Supporting Appellant

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                                     ORDER
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          For reasons appearing to the court, the court declines to hold the briefing

schedule in abeyance. The schedule currently in place remains in full force and

effect.

                                         For the Court

                                         /s/ Nwamaka Anowi, Clerk
